Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1042 Page 1 of 29




                         UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, NORTHERN DIVISION



Civil Action No. 1:17-CV-00103-DAK-PMW

TAMMY SHELTON,
Plaintiffs,

v.

CHIPOTLE MEXICAN GRILL, INC.,

Defendant.


     MOTION TO DISMISS AMENDED COMPLAINT PURSUANT TO Fed.R.Civ.P.
                          12(b)(1) and 12(b)(6)


                     I.     MEET AND CONFER CERTIFICATION

       This Court’s local rules exempt Rule 12 motions from the meet and confer

process due to the nature of relief requested. However, Defendant did confer with

Plaintiff’s counsel prior to filing this Motion, advising counsel that the allegation in the

Amended Complaint did not violate the ADA and further advising counsel that Plaintiff’s

Amended Complaint did not cure the standing requirement to proceed.                Mr. Ord

disagreed, thus it is presumed that Plaintiff opposes this Motion to Dismiss and the relief

requested herein.

                                 II.    INTRODUCTION

       Between May 26, 2017 and July, 2017, Plaintiff Tammy Shelton, filed 22 “drive

by” lawsuits in this Court against 22 different Utah businesses, alleging violations of

Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. 12181 et seq. (The

Pacer Search printout for the 22 cases filed listing Ms. Shelton is attached as Exhibit A.)
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1043 Page 2 of 29




Plaintiff retained counsel to craft a generic complaint for use in all 22 cases, and the

only minimal changes to each complaint pertain to the specific ADA violations against

each defendant contained in paragraph 38 1, and the date when she visited each

establishment.


         The first complaint or notice of any alleged violation received by Chipotle was

when it received notice that this lawsuit had been filed. None of the complaints filed by

Shelton assert that she notified the Utah Department of Human Services that any

defendant failed or refused to fix any alleged violation, or that she even notified the

defendants about the alleged violations prior to filing any of her 22 complaints.


         Plaintiff’s Amended Complaint fails to set forth claims that can survive a motion

to dismiss. The Amended Complaint does little more than recite the law and its history.

It fails to establish which set of ADA or “PPA” Design Standards apply to this

Defendant’s restaurant, fails to allege any facts that would establish a violation of the

ADA and, more importantly, fails to allege facts establishing that Plaintiff has standing to

seek relief for any alleged violation. Furthermore, despite Plaintiff’s stated goal of

promptly correcting Defendant’s discriminatory practices, Plaintiff failed to notify

Defendant of the alleged ADA infraction prior to filing suit. Plaintiff’s sprint to the

courthouse violated the ADA’s notice provision and goal of providing efficient and

economical relief as well as her legal requirement to notify the Utah Department of

Human Services prior to filing a complaint for relief. 42 U.S.C. § 2000a(3)(a) and (c);



1
  This Amended Complaint contains additional allegations that are not contained in the other 21 complaints, as the
Original Complaint here was amended and incorporates several allegations pertaining to “future harm” and
Plaintiff’s disability that were not contained in this Original Complaint based on a prior Motion to Dismiss that was
granted.


                                                          -2-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1044 Page 3 of 29




U.C.A. 1953 §62A-5b-103. Accordingly, pursuant to Fed. R. Civ. P. 12(b)(1) and (6),

Defendant respectfully moves this Court to dismiss the Amended Complaint.


       Furthermore, based on the vexatious and malicious behavior of Plaintiff as

argued below, this Court should preclude this Plaintiff from filing further lawsuits of this

type against the Defendant without first obtaining Court approval. Finally, this case

merits assessing sanctions against Plaintiff for pursuing litigation against Defendant for

a malicious and improper purpose in violation of 28 U.S.C. § 1927 or Fed. Rule Civ. P.

Rule 11 and local rule DUCivR1-2, or at a minimum awarding Defendant its attorneys’

fees as a prevailing party pursuant to 42 U.S.C. § 12205.


       This case is one of the hundreds of ADA Title III cases filed across the

Southwest by a Phoenix based entity that hires sham plaintiffs, pays local attorneys to

turn over their ECF accounts to the Phoenix entity, Litigation Management and Financial

Services, LLC (“LMFS”) to manage these cases, and files virtually identical complaints,

mandating that all communication be in writing and to an ADA email address used by

employees of LMFS. As the numerous exhibits attached to this Motion will confirm,

once each defendant retains counsel, staff for LMFS, under the guise of the plaintiff’s

attorney paid by LMFS, then sends out identical emails to each defendant seeking a

settlement for a nuisance value, in the Utah cases of $3,900, even though that number

does not remotely relate to any recoverable legal fee. Within Utah alone, this entity filed

262 complaints. In the state of Colorado, this entity has filed over 150 complaints, in

Nevada more than 270 complaints, nearly 100 complaints in New Mexico, and in




                                             -3-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1045 Page 4 of 29




Arizona 1093 complaints were filed 2.                       LMFS operates by seeking out disabled

individuals to act as potential plaintiffs to whom they pay $50 for each filed case, and

attorneys, to whom they pay a fee of $100 for each case, essentially for the use of the

attorney’s ECF password.                 LMFS then handles all aspects of the litigation and

settlement negotiations and retains all settlement proceeds. (See attached Exhibit X.)

In light of this sham litigation, Shelton is not the real plaintiff in interest and lacks

standing to pursue this claim.

                                                     BACKGROUND

         1.       Chipotle owns a restaurant located at 135 North 500 West, Bountiful,

Utah. Plaintiff alleges that she visited the Chipotle restaurant referenced above on April

17, 2017 “to enjoy the goods and services offered” there. Amended Complaint ¶¶ 14. At

the restaurant, Plaintiff was purportedly “denied full and equal access and full and equal

enjoyment of the facilities, services, goods and amenities,” Id. ¶ 13, as the result of the

alleged barrier: (1) “Failure to locate mirrors over lavatories and countertops with the

bottom edge of the reflecting surface no greater than forty (40) inches (1015 mm) above

the ground as required by 36 C.F.R § 1191 Appendix D, Guideline 603.3” Id. ¶ 38 (a).

According to Plaintiff, this barrier violates the 2010 ADA and its accompanying Disability

Guidelines. Id, ¶ 39.

         2.       To remedy these alleged violations, Plaintiff seeks both “retrospective

declaratory relief (that Defendant has violated and continues to violate Title III of the




2
 The Arizona cases were the first cases filed and were filed by Advocates for Individuals with Disabilities, “AID”
as a named Plaintiff in addition to the disabled Plaintiff, David Ritzenthaler. After an Arizona Judge dismissed all
of these suits for lack of standing because none of them alleged a distinct and palpable injury, (see Ritzenthaler v.
MidFirst Bank, Civil Action Number 2:16-cv-01969-NVW), AID changed its name to LMFS. (See list of cases
attached as Exhibit N.)


                                                           -4-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1046 Page 5 of 29




ADA) and prospective injunctive relief,” as well as attorney’s fees. Id. ¶ 44, 56. However,

Plaintiff nowhere alleges that she or anyone acting on her behalf reported the alleged

violation to Defendant before filing suit. Furthermore, Plaintiff does not state with

specificity any allegations that a violation of the ADA has occurred, nor does Plaintiff

assert facts to establish that she has sufficient standing to bring this action.

       3.        The Amended Complaint filed in this action is essentially identical to the

remaining 21 complaints filed with this Court by Ms. Shelton since May, 2017. The text

of each complaint is virtually indistinguishable from the complaints filed in all other 21

complaints with the only differences appearing to be the name of the defendant and the

modification of the non-compliant barriers in paragraph 38.                (A copy of another

complaint listed in Exhibit A from the case of Shelton v. Hutchison-Hill, LC, d/b/a Great

Clips, Civil Action Number 1:17-cv-00073-DN, is attached as Exhibit B.)


       4.        Plaintiff’s 22 complaints are also essentially identical to 120 complaints

filed since May, 2017 by attorney Mike Studebaker, Esq. on behalf of purported Plaintiff

Sam Burningham.          (The Pacer Search printout for the 120 Burningham cases is

attached    as     Exhibit   C.)   Other   than      the   addition   of   paragraph   38,   the

Studebaker/Burningham complaints again only significantly differ by changing the

defendant’s identifying information and the list of specific non-compliant barriers in

paragraph 34. (A copy of a case from Exhibit C, Burningham v. Toys “R” Us, Civil

Action 2:17-cv-00672-JNP-PNW is attached as Exhibit D.)


       5.        Plaintiff’s 22 complaints are also essentially identical to 107 complaints

filed by attorney James Ord, Esq., the same attorney who represents Ms. Shelton in this

matter, on behalf of purported Plaintiff Trevor Kelley. (The Pacer Search printout for the

                                               -5-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1047 Page 6 of 29




107 Kelley cases is attached as Exhibit E.) Again, the only significant difference is the

change in the defendant’s address and the list of specific non-compliant barriers in

paragraph 38. (A copy of a case from Exhibit E, Kelley v. Chipotle Mexican Grill, Inc.,

Case Number 2:17-CV-00689-DBP is attached as Exhibit F.)


      6.     Plaintiff’s complaint here is also nearly identical to the 43 complaints filed

by attorney Jeffrey Emberton, Esq. on behalf of purported Plaintiff Terrell Frederick in

Colorado. (The Pacer Search printout for the 43 Frederick cases is attached as Exhibit

G.) One of the 43 cases includes a complaint filed against Chipotle in Colorado,

Frederick v. Chipotle Mexican Grill, Inc., Civil Action Number 1:17-cv-00406-KLM,

attached hereto as Exhibit H. Additionally, 274 complaints were filed in Nevada by

attorney Whitney Wilcher, Esq. on behalf of purported Plaintiff Kevin Zimmerman. (The

Pacer Search printout for the 274 Zimmerman cases is attached as Exhibit I.) Four of

those cases, Civil Action Numbers: 2:17-cv-00791-GMN-GWF, 2:17-cv-00399-RFB-

VCF, 2:17–cv-01172-JAD-GWF, 2:17-cv-01270-GMN-GWF, were filed against Chipotle,

attached hereto as Exhibits J-M.       Again, the only material differences in these

complaints are the names of the purported plaintiffs, the identifying information of the

defendant and the non-compliant barriers alleged.


      7.     Mr. Ord, counsel for Ms. Shelton in this case, also represents Trevor

Kelley as referenced above, and when that complaint was served on Chipotle,

undersigned counsel attempted to directly contact Mr. Ord to discuss the case.

Undersigned counsel received the email message attached hereto as Exhibit O from

Robert Griffith instructing that all communication should be through email.           That

message also contained a settlement demand. (See email from R. Griffith dated July

                                            -6-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1048 Page 7 of 29




25, 2017, Exhibit O.) Multiple follow up emails were received from Ashley Iannacone

from August 3, 2017 thru August 9, 2017, also claiming to be Mr. Ord’s legal assistant in

Utah. (See email correspondence from A. Iannacone dated August 3, 2017 – August 9,

2017, Exhibit P.)


        8.       Because the full identity of these entities is now known to Defendant,

when the Original Complaint was initially served on Defendant, undersigned counsel

corresponded with Mr. Ord, advising him that standing was not sufficiently pled and that

the alleged PPD violations were without merit. (See Exhibit Q attached, correspondence

from K. Mowry to J. Ord dated October 17, 2017.) Again, when Defendant was recently

served with the Amended Complaint, undersigned counsel spoke with Mr. Ord by

telephone, again advising him that his Amended Complaint continued to lack proper

standing as there was no distinct and palpable injury asserted, and that even if standing

was appropriate, the allegations remain without any merit.


        9.       Attached as Exhibit R is an email from Ashely Iannacone, purportedly also

a legal assistant to Mike Studebaker, Esq. counsel for Mr. Burningham. This email is

nearly identical to the email received from undersigned counsel in this case as

described in paragraph 7 above, and was filed with this Court on July 20, 2017 as

Exhibit G to Defendant Toys “R” Us’ Motion to Dismiss in Burningham v. Toys “R” Us,

Civil Action 2:17-cv-00672-JNP-PNW.3




3
 Undersigned counsel believes, based upon a conversation with Mr. Ord, that he, in fact, now represents the
Plaintiff Burningham and has substituted as counsel for Mr. Studebaker.


                                                         -7-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1049 Page 8 of 29




      10.    Attached as Exhibit S are two emails filed in the United States District

Court of New Mexico, and filed with this Court as Exhibit I in Defendant Toys “R” Us’

Motion to Dismiss, Civil Action 2:17-cv-00672-JNP-PNW, involving email responses

received by counsel in matters before that Court in lawsuits also surreptitiously pursued

by LMFS, authored again by Ashley Iannacone, the Legal Assistant for New Mexico

attorney Sharon Pomeranz, Esq. and in all material aspects identical to the emails

described in paragraph 7 above. Of note, Ms. Pomeranz was the attorney of record for

Plaintiff Alyssa Carton in the Carton v. Carroll Ventures, Inc. case in New Mexico, Civil

Action 2:17-cv-00672-JNP-PNM (Magistrate opinion attached as Exhibit Y, filed with this

Court as Exhibit L in Defendant Toys “R” Us’ Motion to Dismiss, Civil Action 2:17-cv-

00672-JNP-PNW.)


      10.    Attached hereto as Exhibit T is an email received by Defense counsel in

the Colorado case, Frederick v. Chipotle, supra also authored by Ashley Iannacone,

purportedly a legal assistant to Colorado attorney Jeff Emberton, Esq. and in all material

aspects identical to the emails described above in paragraphs 7, 9 and 10 above.


      11.    Attached hereto as Exhibit U is an email response received by Defense

counsel Christopher Moon in Kelley v. Dollar Tree and filed in that Utah action as

Exhibit H in Defendant Toys “R” Us’ Motion to Dismiss, Civil Action 2:17-cv-00672-JNP-

PNW, again authored by Ashley Iannacone. It is in all material aspects identical to the

email received by Defense counsel in this case as stated in paragraph 7 above.


      12.    Attached hereto as Exhibit V is multiple email correspondence received

from Defense counsel in the Zimmerman cases from Ashley Iannacone, paralegal to



                                            -8-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1050 Page 9 of 29




attorney Whitney Wilcher in Nevada, confirming that she also acts as a paralegal to

Nevada attorney Wilcher. On May 11, 2017 the Honorable Karen B. Molzen, Chief

Magistrate Judge of the United States District Court for the District of New Mexico held

a hearing pertaining to the dozens of materially identical lawsuits filed in the District of

New Mexico, spurred by the case Carton v. Carroll Ventures, Inc., supra. (See Exhibit

W, transcript of May 11, 2017 hearing, filed with the Utah US District Court as Exhibit J

in Defendant Toys “R” Us’ Motion to Dismiss, Civil Action 2:17-cv-00672-JNP-PNW.)


       13.    Following that hearing, on May 17, 2017 Magistrate Judge Molzen

directed the publication of the agreements between LMFS, the purported plaintiff, and

strawman counsel. (See Exhibit X, Order of Magistrate Molzen, LMFS Agreement and

email of C. Broadbent, Esq. acknowledging awareness of New Mexico proceedings,

filed with the Utah US District Court as Exhibit K in Defendant Toys “R” Us’ Motion to

Dismiss, Civil Action 2:17-cv-00672-JNP-PNW.)


       14.    Subsequently on July 10, 2017 Magistrate Molzen recommended to the

Chief Judge of the District of New Mexico that the cases in that District be dismissed

with prejudice as they were malicious and filed for an improper purpose to use the

judicial process to harass Defendants into settlement. (See Exhibit Y, Carton v. Carroll

Ventures, Inc., 2017 U.S. Dist. LEXIS 107135 (D.N.M. July 10, 2017.) Although counsel

in this case previously argued this decision pertaining to the plaintiff failing to pay a filing

fee in those cases despite being paid for each complaint filed on her behalf, the actual

language in that decision on pages 10 and 11 specifically discusses the issue of

standing in reaching her overall conclusion that the cases filed in that jurisdiction be

dismissed as malicious pursuant to 20 U.S.C. § 1915 (e) (2). (Id., pp. 12,11,13.)

                                               -9-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1051 Page 10 of 29




         15.      On August 7, 2017, the Attorney General for the State of Nevada filed a

Motion to Intervene in the 274 ADA Tile III cases filed by Kevin Zimmerman in Nevada

(157 remain active) for the purpose of consideration of dismissal of all complaints filed

by that plaintiff as well as whether the Court should assess sanctions or other remedial

orders in that jurisdiction. 4         (The Attorney General’s Motion and supporting Exhibits is

attached hereto as Exhibit Z.)

                                     III.      STANDARD OF REVIEW

         Federal Rule of Civil Procedure 8(a)(2) requires a “short and plain statement of

the claim showing the pleader is entitled to relief.” Fed. Rule Civ. P. 8(a)(2).                                   “[A]

plaintiff’s obligation to provide the grounds of his entitlement to relief requires more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action

will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rule 8(a)(2)

“demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 555).

         Rule 12(b)(6) requires a court to dismiss a complaint if, accepting the well-

pleaded facts as true, a plaintiff fails to plead facts sufficient to support the relief sought.

See Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). The purpose of Rule 12(b)(6) is

to “streamline litigation by dispensing with needless discovery and fact-finding.” Neitzke



4
  Defendant in this case incorporates by reference the arguments advanced by the Attorney General in Exhibit B
attached to its Motion to Intervene and attached to this Motion as Exhibit Z, wherein the Attorney General argues
that all complaints filed in Nevada failed to allege that the Plaintiff notified the Nevada Equal Rights Commission as
required by 42 U.S.C. §2000a-3(a) and (c), and that the complaints all failed to allege that the defendants refused to
fix any alleged violations or that Plaintiff even notified the defendants of the alleged violations, as well as the
argument that the Plaintiff failed to allege that he suffered any injury-in-fact, that the complaints failed to make any
meaningful distinction between the evolution of the PPA Design Standards over time and failed to allege which set
of PPA Design Standards apply to the respective PPA that is the subject of each complaint, and that Plaintiff failed
to demonstrate the likelihood of imminent future harm to the Plaintiff. Chipotle asserts these arguments are equally
applicable to this case and warrant immediate dismissal of this pending action.


                                                           -10-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1052 Page 11 of 29




v. Williams, 490 U.S. 319, 326-27 (1989). “[O]nly a complaint that states a plausible

claim for relief survives a motion to dismiss.” Iqbal, 556 U.S. at 679 (citation omitted).

       To survive a 12(b)(6) motion to dismiss, the complaint must contain “enough

facts to state a claim to relief that is plausible on its face.” Ridge at Red Hawk, L.L.C. v.

Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. at 570). A 12(b)(1) motion to dismiss, on the other hand, requires a court to

dismiss a complaint for “lack of subject matter jurisdiction. Courts must address

jurisdictional issues at the beginning of every case and, if jurisdiction is lacking, dismiss

the case immediately. In re Franklin Sav. Corp., 385 F.3d 1279, 1286 (10th Cir. 2004). It

is Plaintiff’s burden to establish this Court’s subject matter jurisdiction over her claims.

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 104 (1998). Moreover, when

analyzing a 12(b)(1) motion to dismiss, “a party may go beyond allegations contained in

the complaint and challenge the facts upon which subject matter jurisdiction depends.”

Holt v. United States, 46 F.3d 1000, 1003 (10th Cir. 1995).

       Although a court assumes all well-pleaded factual allegations are true, it is “not

bound to accept as true a legal conclusion couched as a factual allegation.” Peterson v.

Martinez, 707 F.3d 1197, 1206 (10th Cir. 2013) (internal quotation and citation omitted).

“[C]onclusory allegations without supporting factual averments are insufficient to state a

claim upon which relief can be based.” Cory v. Allstate Ins., 583 F.3d 1240, 1244 (10th

Cir. 2009) (internal quotations omitted). The factual allegations in the complaint “must

be enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at

555 (citation omitted).




                                             -11-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1053 Page 12 of 29




       Here, as discussed below, Plaintiff has failed to allege facts sufficient to establish

any violation of the ADA, and has failed to allege facts sufficient to establish she has

standing to seek relief for any alleged violation.

                                     V.     ARGUMENT

A.     The Amended Complaint Should be Dismissed Because Plaintiff Lacks
       Standing.

       In ADA Title III cases, a plaintiff must establish standing to pursue the claim by

pleading facts supporting three elements: “[1] a plaintiff must suffer an ‘injury in fact’

that is actual or imminent; [2] the injury must be fairly traceable to the challenged

action of the defendant; and [3] it must be likely that the injury will be redressed by the

relief requested.” Colorado Cross-Disability Coalition v. Abercrombie & Fitch Co., 765 F.

3d 1205, 1210-11 (10th Cir. 2014) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555,

560-61 (1992)); Chapman v. Pier 1Imports (U.S.) Inc., 631 F. 3d 939, 946 (9th Cir.

2011) (emphasis added.)

       “Title III of [the ADA] . . . provides for only injunctive relief and not compensatory

damages.” Rhodes v. Southern Nazarene Univ., 554 Fed. Appx. 685, 690 (10th Cir.

2014) (citing 42 U.S.C. § 12188(a)(1); Powell v. Nat'l Bd. of Med. Exam'rs, 364 F.3d 79,

86 (2d Cir. 2004)). As a result, the third element of the standing analysis has often been

restated as requiring a showing that “plaintiff [is] suffering a continuing injury or [is]

under a real and immediate threat of being injured in the future.” Tandy v. City of

Wichita, 380 F.3d 1277, 1283 (10th Cir. 2004) (citation omitted); see also Chapman,

631 F.3d at 946 (“to establish standing to pursue injunctive relief, which is the only relief

available to private plaintiffs under the ADA, he must demonstrate a ‘real and immediate

threat of repeated injury’ in the future”) (citation omitted).


                                               -12-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1054 Page 13 of 29




       Standing is a jurisdictional matter. Steel Co. v. Citizens for a Better Env’t, 523

U.S. 83, 103 (1998). Failure to establish any one of the three standing requirements

deprives a court of jurisdiction to hear the suit. Id. Here, as discussed below, Plaintiff

has not alleged facts to support any of the elements of standing. Accordingly, this Court

lacks jurisdiction and the Amended Complaint must be dismissed pursuant to Fed. Rule

Civ. P. 12(b)(1).

       1.     Plaintiff Has Not Alleged An “Injury in Fact” Traceable to Non-
              Compliant Conditions.

       Plaintiff’s Amended Complaint plainly does not satisfy the first two elements of

the standing analysis. An ADA plaintiff may establish injury-in-fact traceable to the

challenged conduct of the defendant by pleading facts sufficient to establish that “a

barrier violating [ADA standards] relates to a plaintiff’s disability,” thus impairing

the plaintiff’s full and equal access to the facility. Chapman, 631 F. 3d at 947

(emphasis added). A plaintiff fails to satisfy this pleading requirement where “he never

alleges what those barriers were and how his disability was affected by them so as

to deny him the ‘full and equal’ access that would satisfy the injury-in-fact

requirement.” Id. at 954.

       Here, as noted above, Plaintiff vaguely alleges that Defendant’s restaurant at

issue contains one physical condition concerning the height of an unspecified mirror that

is allegedly non-compliant with ADA standards. But Plaintiff has completely failed to

articulate how the alleged non-compliant conditions impaired her full and equal access

to the facility. Although the Amended Complaint alleges that Plaintiff “suffers hardship

when a mirror is mounted higher than her line of sight” (Amended Complaint ¶ 38 (a)),

the Amended Complaint does not identify that she was specifically denied full and equal


                                            -13-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1055 Page 14 of 29




access to the facility due to the alleged unspecified mirror height. 5 As a result, there is

no standing. See Chapman, 631 F.3d at 954-55.

         2.       There is No Threat of Future Injury.

         To establish the third element of standing in an ADA case, a plaintiff may plead

that the plaintiff has definite plans to return to the facility in the future, but is deterred

from doing so because of specified architectural barriers. Tandy, 380 F.3d at 1284.

Speculative, someday intentions do not support standing to seek prospective relied in

the context of a Title III lawsuit. Id., citing Defenders of Wildlife, 504 U.S. 555, 564

(1992). Plaintiff’s Amended Complaint contains only her conclusory assertion that she

“will avail herself of the goods and services offered at the PPA in the future.” (Amended

Complaint, ¶ 17.) However, this statement is nothing more than a legal conclusion

masquerading as a factual allegation and is insufficient to establish standing.

         Plaintiff’s allegations that she plans to return to Defendant’s restaurant are

likewise speculative and insufficient to establish standing. Ms. Shelton’s conclusory

assertion that she “will avail herself of the goods and services offered at the PPA in the

future” and “I have visited Chipotle Mexican Grill twice in recent years prior to April 17,

2017” and “I intend to visit Chipotle Mexican Grill once the architectural barriers are

removed” are nothing more than “speculative, someday intentions” which do not support

imminent future injury and are insufficient to establish standing to seek prospective

relied in the context of a Title III lawsuit. Chapman, supra; Tandy v. City of Wichita, 380

F.3d 1277, 1283 (10th Cir. 2004).




5
 Defendant asserts that Plaintiff’s alleged ADA violation is baseless, as the height of all mirrors at this location are
compliant with the applicable PPD design standards.


                                                           -14-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1056 Page 15 of 29




         For a threat of future injury to warrant standing, it must be based on the plaintiff’s

awareness of a distinct and palpable injury caused by the asserted barriers is sufficient

to confer standing based on the plaintiff’s intent to return to the establishment once the

barriers are removed. Molski v. Price, 224 F.R.D. 479 (2004); Clark v. McDonald’s, 213

F.R.D. 198 (D.N.J. 2003).

         By contrast, Ms. Shelton does not assert a distinct and palpable injury in the first

place. Without a distinct and palpable injury that is immediate, any threat of future injury

is nothing more than conjecture and speculation and is insufficient to confer legal

standing. Because she has awareness of an actual discriminatory barrier, there is no

threat of future injury. As such, she has no standing to pursue this matter.

         Furthermore, Plaintiff’s naked assertion that she plans to return to the property at

issue is belied by the sham nature of this litigation. Indeed, the real party in interest in

this lawsuit in not Ms. Shelton, she is little more than a “pawn” paid a fee of $50 to ride

along and be photographed in possible targets for a scam to extort attorneys’ fees from

unsuspecting businesses. 6 The real party in interest here is LMFS, which has filed

hundreds of sham lawsuits in the Southwestern United States including Arizona, New

Mexico, Nevada, Colorado and now Utah for the sole purpose of bilking attorneys’ fees



6
 Defendant incorporates by reference the argument advanced in the Motion to Dismiss for Lack of Standing filed by
Toys “R” Us in Burningham v. Toys “R” Us, Civil Action 2:17-cv-00672-JNP, wherein Plaintiff Burningham filed
134 ADA lawsuits in Utah, again pursued by the real Plaintiff-In-Interest, LMFS. (Said Motion is attached as
Exhibit AA.) Toys “R” Us argues with explicit detail and supporting documents the procedure for LMFS placing
ads in internet sources such as Craigslist or Indeed.com to look for potential plaintiffs and attorneys, entering into
agreements with said persons, and driving plaintiffs around from location to location looking for ADA violations.
LMFS agrees further to purchase and maintain a telephone number and email address of the attorney to
communicate and settle each ADA action with the defendants, with all contact with defendants’ counsel through the
assigned paralegal or other staff member of LMFS who will then commence negotiations. It was this behavior that
warranted the Magistrate Judge recommending dismissal of these claims in New Mexico, based on the attorney and
LMFS filing said lawsuit for the purpose of financial gain rather than to remedy any ADA violations. (See attached
Exhibit X, LMFS Agreement, and Exhibit Y, Carton v. Carroll Ventures, Inc., 2017 U.S. Dist. LEXIS 107135
(D.N.M. July 10, 2017)).


                                                          -15-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1057 Page 16 of 29




from businesses using paper plaintiffs and complicit “strawman” attorneys who

authorize LMFS to use their ECF passwords to file documents. In essence, LMFS has

attempted to manufacture standing in this case, as in so many others, and as such has

no standing to bring this action in the first place.

       Indeed, Magistrate Molzen stated in her Order of July 10, 2017 that:

        “I recommend that the Court dismiss these cases with prejudice as malicious

because they were primarily filed for an improper purpose. It appears that Attorney

Pomeranz and LMFS are using the judicial process to harass Defendants into

settlement to obtain financial gain for Attorney Pomeranz and LMFS and not to remedy

ADA violation that serve as barriers to individuals with disabilities in accessing goods

and services.” Carton v. Carroll Ventures. Inc., 2017 U.S. Dist. LEXIS 107135 *12

(D.C.N.M. July 10, 2017), See attached Exhibit Y.

       The cases filed in Utah are no different, having been filed once again to harass

defendants into settlements to obtain financial gain, in this case, for Attorney Ord and

LMFS and not to remedy any purported ADA violation, thus dismissal is appropriate.

       3.     There is No Tester Standing.

       Plaintiff also seeks to establish “tester” standing. (Amended Complaint, ¶ 18).

With respect to “tester standing,” Defendant acknowledges that the Tenth Circuit has

held that a tester may have standing under ADA Title III. “However, the fact that ‘tester

standing’ exists under Title III does not displace the general requirements of standing. . .

. Like any plaintiff, a tester must demonstrate that she has indeed suffered a cognizable

injury in fact that will be redressed by the relief sought.” Abercrombie & Fitch, 765 F.3d

at 1211. Here, Plaintiff fails to assert how she has suffered a cognizable injury in fact



                                               -16-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1058 Page 17 of 29




caused by the alleged non-compliant barrier related to her disability. Accordingly,

Plaintiff does not have tester standing.

B.     The Court Should Dismiss the Amended Complaint Because it Contains No
       Factual Allegations Establishing a Violation of the ADA.

       The vast majority of Plaintiff’s Amended Complaint is devoted to a recitation of

the history of the ADA and its requirements. Title III of the ADA (42 U.S.C. § 12181, et

seq.) generally requires places of public accommodation, including restaurants, to

provide facilities that are “readily accessible to and usable by individuals with

disabilities.” 42 U.S.C. § 12183(a)(1). Consequently, a threshold question in an ADA

case is whether the plaintiff is an individual with a “disability.”

       The ADA defines “disability” as a physical or mental impairment that substantially

limits one or more major life activities; a record of such an impairment; or being

regarded as having such an impairment. 42 U.S.C. § 12102(1). But a plaintiff is not

entitled to the protections of the ADA merely because she labels herself as having some

unspecified “disability.” Iqbal, 556 U.S. at 678 (a pleading that offers only “labels and

conclusions” or “a formulaic recitation of the elements of a cause of action will not do”)

(citation omitted).

       Here, although Plaintiff alleges sufficient facts to establish the existence of a

disability, the Amended Complaint still fails to state a claim for which relief may be

granted because Plaintiff has not alleged facts establishing that any conditions at

Defendant’s restaurant violate the ADA. The ADA requires public accommodations to

comply with certain Standards for Accessible Design. 28 C.F.R. § 36.406(a) (adopting

1991 Standards for Accessible Design for new construction before September 15,




                                               -17-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1059 Page 18 of 29




2010). But to state a claim on which relief may be granted, the Amended Complaint

must do more than just recite these legal standards.

          Plaintiff contends that Defendant’s restaurant fails to comply with the ADA in the

following respect:

          a. “Failure to locate mirrors over lavatories and countertops with the bottom edge

of the reflecting surface no greater than forty (40) inches (1015 mm) above the ground

as required by 36 C.F.R § 1191 Appendix D, Guideline 603.3.” (Amended Complaint, ¶

38(a)).

          In support of this alleged violation, Plaintiff extracts language from the Standards

for Accessible Design, but that is all Plaintiff has done. These are merely “formulaic

recitation of the elements of a cause of action [which] will not do.” Iqbal, 556 U.S. at

678.

          Under the Federal Rules, Defendant (and the Court) cannot be left to speculate

about what unidentified “mirror” is non-compliant or what the non-compliance is based

on. The Federal Rules require factual allegations, not merely a recitation of the legal

standards. Because the Amended Complaint fails to do so, it should be dismissed for

failure to state a claim.

C.        Plaintiff’s Twenty Two Complaints, Including the Amended Complaint Filed
          Against Chipotle Herein, Are an Abuse of the Judicial System and Were
          Maliciously Filed for Improper Purposes, Warranting Sanctions Against
          Plaintiff and/or Plaintiff’s Counsel.

          This case cries out for the imposition of sanctions under 28 U.S.C. § 1927 or per

Rule 11 to deter conduct by this entity that has impacted hundreds of businesses across

the Southwest United States, including Arizona, New Mexico, Nevada, Colorado and

now Utah. Chipotle has been sued by this entity no less than 7 times, and the District of


                                               -18-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1060 Page 19 of 29




New Mexico has addressed the malicious nature of these scam lawsuits designed to

harass defendants into paying settlements rather than addressing ADA violations.

Carton v. Carroll Ventures, Inc., supra. The Attorney General has moved to intervene in

these lawsuits filed in Nevada in part to determine the sanctionable conduct of LMFS

and its strawman counsel. (See Motion to Intervene, Exhibit Z.) The Tenth Circuit has

made it clear that “any conduct that, viewed objectively, manifests either intentional or

reckless disregard of the attorney’s duties to the court, is sanctionable under Section

1927. Hamilton v. Boise Cascade Express, 519 F.3d 1197, 1202 (10th Cir. 2008), citing

Bradley v. Campbell, 832 F.2d 1504, 1512 (10th Cir. 1987) (en banc). The Court also

has the inherent power to issue sanctions for bad-faith conduct that is an abuse of the

judicial process. Farmers v. Banco Popular of N. Am., 791 F.3d 1246, 1256 (10th Cir.

1025.)

         In the instant case, Mr. Ord was made aware of these issues with a similar

motion to dismiss filed in Kelley v. Chipotle, supra. As such, there is absolutely no

dispute that Mr. Ord is well aware of the court rulings in other jurisdictions as to the

nature of this type of litigation and business model advanced by LMFS. Furthermore,

after Defendant was served both with the Original Complaint on October 11, 2017 and

the more recently filed Amended Complaint, undersigned counsel specifically advised

Mr. Ord that not only did his client lack standing, but the allegation in the Amended

Complaint was entirely baseless as the mirror height of all mirrors in the restaurant is, in

fact, compliant with the applicable ADA PPA design standards.

         Defendant has been subjected to similar litigation in both Colorado and Nevada

at the hands of LMFS. In Colorado, Plaintiff Frederick in Colorado Springs filed 43



                                             -19-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1061 Page 20 of 29




similar lawsuits with language identical to the complaints filed in this Court, for the

purpose of obtaining a quick settlement from each defendant (see Frederick v. Chipotle,

supra), 7 and in New Mexico a similar boiler-plate complaint was filed by Plaintiff

Zimmerman against 274 defendants including 4 complaints filed against Chipotle, again

for the purpose of obtaining a quick settlement from each defendant. (See Zimmerman

v. Chipotle, supra.) In each case, undersigned counsel was directed to communicate

only via email with a legal assistant or paralegal purporting to work in the same office as

plaintiff’s counsel, and in each case an immediate settlement demand was made by the

legal assistant or paralegal, in every case with legal assistant, Ashley Iannacone, Mr.

Emberton’s legal assistant in Colorado - the same legal assistant who apparently also

works for Mr. Ord and Mr. Studebaker in Utah, Mr. Wilcher in Nevada and Ms.

Pomeranz, in New Mexico.

        Defendant is now in the position of once again defending nearly identical claims

against LMFS, under the guise of Ms. Shelton. There is no question that Mr. Ord was

aware of the New Mexico Order wherein Magistrate Molzen recommended defendants

in New Mexico brief the appropriateness of sanctions for behavior that took place in that

District that amounted to bringing malicious claims, as he was provided a copy of that

order prior to serving the Defendant in this case.

        This abuse of the judicial system by the real Plaintiff-In-Interest in this case –

LMFS - and its strawman attorney has caused defendants to suffer damages for which

this Court should award appropriate sanctions to stop this behavior. See Carlock v.


7
 Two other plaintiffs filed nearly identical ADA complaints in Colorado, purported Plaintiff Mellisa Umphenour
and her attorney James Carr, Esq. filed 72 cases in Colorado, and purported Plaintiff Vicki Mize and her attorney
Lori Coulter, Esq. filed 15 Colorado cases, and purported Plaintiff Kristin McIntosh filed more than 20 Colorado
cases with her Florida based attorney, Ben Zion Bradley Weitz, Esq.


                                                         -20-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1062 Page 21 of 29




Collins Motor Company, Case No. 04-cv-0370 J (RBB). (S.D. Cal. Apr. 7, 2008)

(awarding fees for serial ADA filings where plaintiff and his attorney actively engaged in

the lucrative “cottage industry” of filing ADA claims to harass businesses into quickly

entering into cash settlements).

      Furthermore, Fed. R. Civ. P. Rule 11 imposes a duty on attorneys to certify that

they have conducted a reasonable inquiry and have determined that any papers filed

with the court are well-grounded in fact, legally tenable, and not interposed for any

improper purpose. Harrison v. Luse, supra; Cooter & Gell v. Hartmarx Corp., 496 U.S.

384, 110 S.Ct. 2447, 2454, 110 L.Ed.2d 359 (1990). Fed. R. Civ. P. Rule 11, as

amended in 1983, provides in pertinent part: “[T]he signature of an attorney or party

constitutes a certificate by the signer that the signer has read the pleading, motion, or

other paper; that to the best of the signer’s knowledge, information, and belief formed

after reasonable inquiry it is well grounded in fact and is warranted by existing law or a

good faith argument for the extension, modification, or reversal of existing law, and that

it is not interposed for any improper purpose such as to harass or to cause unnecessary

delay or needless increase in the cost of litigation.” The Rule further states that the

attorney certifies that “the claims, defenses, and other legal contentions are warranted

by existing law or by a nonfrivolous argument for extending, modifying, or reversing

existing law or for establishing new law.” Fed. R. Civ. P. 11(a) and (b). If a pleading,

motion, or other paper is signed in violation of this rule, the court, upon motion or upon

its own initiative, shall impose upon the person who signed it, a represented party, or

both, an appropriate sanction, which may include an order to pay to the other party or




                                            -21-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1063 Page 22 of 29




parties, the amount of the reasonable expenses incurred because of the filing of the

pleading, motion, or other paper, including a reasonable attorney’s fee. Id., at 11(c)(1).

       Attorneys have an affirmative duty to make a reasonable inquiry into both the

facts and the law relevant to their pleadings and motions prior to signature. Terrestrial

Systems, Inc. v. Fenstemaker, 132 F.R.D. 71, 75 (D. Colo. 1990); Napier v. Thirty or

More Unidentified Federal Agents, 855 F.2d 1080, 1091 (3rd Cir.1988). Challenged

conduct is evaluated under a standard of objective reasonableness, that is, whether a

reasonable attorney admitted to practice before the District Court would file such a

document. Adamson v. Bowen, 855 F.2d 668, 673 (10th Cir.1988). The attorney must

“stop, look and listen” before signing a document subject to Rule 11. See Id, (Quoting

Lieb v. Topstone Industries, Inc., 788 F.2d 151, 157 (3d Cir.1987)). Because Plaintiff

and her attorney violated Rule 11, specifically in failing to assert proper standing as well

as assert a single fact that supports any ADA violations against Chipotle, and has

clearly filed this suit, along with 21 others, for what appears to be the sole purpose of

obtaining attorney’s fees from the various defendants, Defendant respectfully requests

that sanctions be assessed to deter this conduct.

       A.     This Court Should Declare Plaintiff a Vexatious Litigant and Require
              Her to Obtain Court Approval Before Filing Further Lawsuits Against
              Defendant.

       Federal courts have the inherent power to regulate the activities of abusive

litigants by imposing carefully tailored restrictions under appropriate circumstances.

YSAIS v. Richardson, 603 F.3d 1175 (10th Cir. 2010); Andrews v. Heaton, 483 F.3d

1070 (10th Cir. 2007); Tripati v. Beaman, 878 F.2d 351, 352 (10th Cir.1989). Injunctions

restricting further filing are appropriate where (1) the litigant’s lengthy and abusive



                                             -22-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1064 Page 23 of 29




history is set forth; (2) the court provides guidelines as to what the litigant may do to

obtain its permission to file an action; and (3) the litigant receives notice and an

opportunity to oppose the court’s order before it is implemented. Johnson v. Stock, 2005

WL 1349963 (10th Cir. June 8, 2005) (Filing restrictions imposed upon a plaintiff who

filed multiple vexatious, frivolous pleadings in District of Utah action.) Based on the

Plaintiff’s – moreover the real Plaintiff-In-Interest here, LMFS’s - history of harassing

and duplicative litigation, motive in pursuing litigation, the undisputed fact that this

repeated litigation has cost the Defendants to incur unnecessary expense and placed a

needless burden on this and many other courts, and the appropriateness of sanctions to

deter this conduct, Defendant submits that this Court should declare Plaintiff a vexatious

litigant and preclude it from filing any further lawsuits against Defendant unless first

advising Defendant of any alleged barriers and providing it a reasonable time to correct

any alleged ADA violations. See Molski v. Evergreen Dynasty Corp., 500 F.3d 1047

(9th Cir. 2007) and Safir v. United States Lines, Inc., 792 F.2d 19, 24 (2d Cir. 1986)

(outlining a 5 factor test to determine whether a plaintiff is a vexatious litigant.)

        In this case, there is no question that Plaintiff Shelton has an extensive history of

litigation, being a plaintiff in at least 22 cases filed within a 5 week period by the same

attorney in the same district. 8 Moreover, as previously discussed and perhaps even

more troubling is the undisputed fact that the real Plaintiff-In-Interest here – LMFS – has

filed literally thousands of complaints in the Southwestern United States including

Arizona, New Mexico, Nevada, Colorado and now Utah, using paper plaintiffs and



8
 Plaintiff’s 22 complaints were initially filed by Attorney Jonathon Feld, Esq. from May 9, 2017 thru June 13, 2017.
Defendant Chipotle was not served until October 11, 2017 by Mr. Ord, who contemporaneously substituted as
counsel for Mr. Feld.


                                                         -23-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1065 Page 24 of 29




complacent attorneys to advance their “business model” of bilking unsuspecting

businesses out of thousands of dollars in attorney’s fees.       The verbiage in each

complaint in every state is virtually identical, describing each business generally as a

place of public accommodation (PPA), failing to state which PPA Design Standard is

applicable to each case, and stating generally that the purported plaintiff visited the

‘PPA’ to enjoy the goods and services offered at the ‘PPA’. The Court in Molski noted

that the complaints were all textually and factually similar and that a large volume of

suits might indicate an intent to harass defendants into agreeing to cash settlements.

While again not entirely dispositive, the district court surmised that boiler plate

complaints might indicate an intent to harass defendants. Id. at 1051.

       The Court in New Mexico has reached that conclusion, finding that the

complaints filed in that state were, in fact, filed for an improper purpose and to harass

the defendants into settlement to obtain financial gain for Attorney Pomeranz and LMFS

and not to remedy any ADA violation.       The Nevada Attorney General’s Office has

moved to intervene in the cases pending in that jurisdiction, for the same reason - that

the cases appear to be filed for malicious reasons rather than to cure any ADA

violations.

       It’s worth noting that Magistrate Molzen stated on the record prior to issuing her

Order in the Carton case:

       The Court: “`I am familiar with this case out of the District of Nevada, that’s

Exhibit Q, in which Litigation Management and Financial Services, LLC, which I assume

is the same entity that we’re discussing today, indicates it had a direct pecuniary

interest in the outcome of this case, and it moved to withdraw IFP status because the



                                           -24-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1066 Page 25 of 29




Court was entitled to have that information…” (See page 68, Lines 8-14 of the transcript

dated May 11, 2017 attached hereto as Exhibit W.)

       The attached emails from Ashley Iannacone, the named paralegal for all claims

filed by Plaintiff Carton in New Mexico; Plaintiff Zimmerman in Nevada; Plaintiff

Frederick in Colorado; and Plaintiffs Kelley, Burningham and Shelton in Utah

demonstrate the undisputable link between these cases and the undeniable fact that

Ms. Iannacone’s employer, LMFS, is the real party in interest and responsible for this

duplicative, harassing and vexatious litigation.

       There is no doubt that LMFS has caused unnecessary expense to the parties

and placed a needless burden on the courts. LMFS, through its paper plaintiffs and

strawman counsel has filed suit against Defendant no less than 7 times, each time the

filing of the lawsuit as the first notice of any alleged ADA violation. And that represents

only the cases filed against this Defendant. There are literally hundreds of named

defendants not only in three locations in Utah, but in multiple locations in Arizona,

Nevada, New Mexico, and Colorado who have been victimized by this business entity.

More than 2000 complaints have been filed, clogging multiple court dockets around the

Southwestern United States with complaints that have little or no merit. Attorneys for the

combined parties have already generated untold tens of thousands of dollars defending

these ADA claims, and it is unknown how many parties have opted to pay settlements

for phony claims in the hope that this entity stops filing lawsuits against them. However,

it is clear from the sheer number of filings, and the near identical nature of the

complaints that the instant litigation is little more than a shakedown meant to extort

money from businesses in the form of settlements rather than cure any ADA violations.



                                             -25-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1067 Page 26 of 29




       Finally, no other sanctions will adequately protect the parties and the Court.

Without a prohibition on the manner in which this entity can sue defendants for alleged

ADA violations under Title III, this entity will continue to abuse the judicial system, file

vexatious and often times falsely premised lawsuits, and harass defendants with the

sole goal of extorting money under the guise of attorneys’ fees and settlements. The

9th Circuit, in Molski v. Mandarin Touch Restaurant, 347 F.Supp.2d 860, 863 (C.D.CA.

2004) expressed its displeasure with this type of ADA litigation as follows:

               The ability to profit from ADA litigation has given birth to what one
       Court described as “a cottage industry.” Rodriguez v. Investco, LLC. 305
       F.Supp.2d 1278, 1280-81 (M.D.Fla.2004). The scheme is simple: an
       unscrupulous law firm sends a disabled individual to as many businesses
       as possible, in order to have him aggressively seek out any and all
       violations of the ADA. Then, rather than simply informing a business of the
       violations and attempting to remedy the matter through “conciliation and
       voluntary compliance,” Id. at 1281, a lawsuit is filed, requesting damage
       awards that would put many of the targeted establishments out of business.
       Faced with the specter of costly litigation and a potentially fatal judgment
       against them, most businesses quickly settle the matter.

              The result of this scheme is that “the means for enforcing the ADA
       (attorney’s fees) have become more important and desirable than the end
       (accessibility for disabled individuals).” Brother v. Tiger Partner, LLC, 331
       F.Supp.2d 1368, 1375 (M.D.Fla.2004). Serial plaintiffs, like Molski, serve as
       “professional pawn[s] in an ongoing scheme to bilk attorney’s fees.”
       Rodriguez, 305 F.Supp.2d at 1285. It is a type of “shotgun litigation [that]
       undermines both the spirit and purpose of the ADA. Brother, 331 F.Supp.2d
       at 1375.” Molski v. Mandarin Touch Restaurant, supra.

       Here, however, the matter is even more troubling as the abuse occurs not just at

the hands of an unscrupulous attorney, but based on a business model of a business

entity that is not even a resident of Utah. This behavior is inappropriate, malicious,

constitutes harassment and must be stopped. This Court is fully capable of providing

guidelines as to what LMFS may do to obtain its permission to file an action against the

Defendant in the District of Utah moving forward, including providing notice of any


                                             -26-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1068 Page 27 of 29




alleged violation to the Defendant and giving it an opportunity to cure any alleged

violation prior to initiating suit.

                                      IV.     CONCLUSION

        For all of the foregoing reasons, Defendant respectfully requests that its Motion

to Dismiss be granted, that Plaintiff’s Amended Complaint be dismissed with prejudice,

that Plaintiff be precluded from filing further lawsuits against Defendant without

providing appropriate notice as determined by the Court to allow the Defendant to cure

any alleged ADA barriers prior to initiating suit, and that Plaintiff be assessed

Defendant’s costs and fees in defending this action either as the prevailing party or as

sanctions under 28 U.S.C. § 1927 or for a violation of Rule 11 at the Court’s discretion.



        Dated this 12th day of March, 2018.




                                              -27-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1069 Page 28 of 29




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                                    -28-
Case 1:17-cv-00103-DAK Document 22 Filed 03/12/18 PageID.1070 Page 29 of 29




                              CERTIFICATE OF SERVICE

I hereby certify that on this 12th day of March, 2018, a true and correct copy of the
foregoing MOTION TO DISMISS AMENDED COMPLAINT PURSUANT TO
Fed.R.Civ.P. 12(b)(1) and 12(b)(6) was filed and served upon the following by the
method indicated:

James K. Ord , III                                   via U.S. Mail
THE ORD FIRM PC                                      via Hand Delivery
PO BOX 16266                                         via Facsimile
SALT LAKE CITY, UT 84116                             via Overnight Delivery
(801) 997-0442                                       via CM/ECF
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Paper courtesy copy delivered to:
Senior Judge Dale A. Kimball                         via U.S. Mail
UNITED STATES DISTRICT COURT                         via Hand Delivery
DISTRICT OF UTAH                                     via Facsimile
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Salt Lake City, Utah 84101                           via CM/ECF


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